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12 Counsel for Plaintiff Interface Linx, LLC
13
                         UNITED STATES DISTRICT COURT
14
                       CENTRAL DISTRICT OF CALIFORNIA
15
                                WESTERN DIVISION
16
17                                         Case No. 2:17-cv-03194
   INTERFACE LINX, LLC, a
18 California limited liability company,
                                           COMPLAINT FOR PATENT
19                Plaintiff,               INFRINGEMENT
20        v.
21 VOXX INTERNATIONAL
   CORPORATION d/b/a ADVENT, a
22 Delaware corporation; VOXX
   ELECTRONICS CORPORATION, a
23 Delaware corporation; INVISION
   AUTOMOTIVE SYSTEMS INC., a
24 Delaware corporation; and KLIPSCH
   GROUP, INC., an Indiana
25 corporation,
26                Defendants.
27
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                                                   COMPLAINT FOR PATENT INFRINGEMENT
Case 2:17-cv-03194-BRO-E Document 1 Filed 04/27/17 Page 2 of 28 Page ID #:2



 1        For its Complaint against Defendants Voxx International Corporation d/b/a
 2 Advent (“Voxx”), Voxx Electronics Corporation (“VEC”), Invision Automotive
 3 Systems Inc. (“Invision”), and Klipsch Group, Inc. (“Klipsch”) (collectively
 4 “Defendants”), Plaintiff Interface Linx, LLC (“Interface” or “Plaintiff”) alleges as
 5 follows:
 6                                    THE PARTIES
 7          1.     Plaintiff Interface Linx, LLC (“Interface”) is a California limited
 8 liability company having a principal place of business at 35 Hugus Alley, Suite 210,
 9 Pasadena, CA 91103.
10          2.    On information and belief, Voxx International Corporation,
11 (“Voxx”) is a corporation organized under the laws of Delaware and has its
12 principal place of business at 180 Marcus Blvd., Hauppauge, NY 11788 and has
13 appointed Corporation Service Company, 2710 Gateway Oaks Dr., Suite 150N,
14 Sacramento, CA 95833, as its agent for service of process.
15          3.    On information and belief, Voxx Electronics Corporation (“VEC”)
16 is a wholly-owned subsidiary of Voxx, and is a corporation organized under the
17 laws Delaware and has its principal place of business at 150 Marcus Blvd.,
18 Hauppauge, NY 11788 and has appointed Corporation Service Company, doing
19 business as CSC – Lawyers Incorporating Service, 2710 Gateway Oaks Dr., Suite
20 150N, Sacramento, CA 95833, as its agent for service of process.
21          4.    On information and belief, Invision Automotive Systems Inc.
22 (“Invision”) is a wholly-owned subsidiary of Voxx, and is a Delaware
23 corporation, with its principal place of business at 150 Marcus Blvd., Hauppauge,
24 NY 11788 and has appointed Corporation Service Company, doing business as
25 CSC - Lawyers Incorporating Service, 2710 Gateway Oaks Dr., Suite 150N,
26 Sacramento, CA 95833, as its agent for service of process.
27          5.    On information and belief, Klipsch Group, Inc. (“Klipsch”) is a
28 wholly-owned subsidiary of Voxx, and is a corporation organized under the laws

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                                                       COMPLAINT FOR PATENT INFRINGEMENT
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 1 of Indiana, with a principal place of business of 3502 Woodview Trace, Suite
 2 200, Indianapolis, Indiana 46268 and has appointed Corporation Service
 3 Company, 2900 SW Wanamaker Drive, Suite 204, Topeka, Kansas 66614, as its
 4 agent for service of process.
 5                            JURISDICTION AND VENUE
 6          6.      This is a civil action for patent infringement arising under the Patent
 7 Act of the United States, 35 U.S.C. §§ 1 et seq. This court has subject matter
 8 jurisdiction of such federal question claims pursuant to 28 U.S.C. §§ 1331 and
 9 1338(a).
10          7.      This Court has personal jurisdiction over Defendants in this action
11 because Defendants have committed acts within this district giving rise to this action
12 and has established minimum contacts with this forum such that the exercise of
13 jurisdiction would not offend traditional notions of fair play and substantial justice.
14 Defendants, directly and indirectly, have committed and continue to commit acts of
15 infringement in this district by, among other things, offering to sell and selling
16 products and/or services that infringe the asserted patent.
17          8.      Venue is proper under 28 U.S.C. §§ 1391(b), 1391(c) and 1400(b) in
18 that the acts and transactions complained of herein were conceived, carried out,
19 made effective, and had effect within the State of California and within this district,
20 among other places. Defendants reside in this district by virtue of their business
21 activities in this district and having committed acts of direct and indirect
22 infringement in this district.
23                          INTERFACE’S PATENT-IN-SUIT
24          9.     On January 21, 2003, the United States Patent & Trademark Office
25 duly and legally issued United States Letters Patent No. 6,508,678 (“the ’678
26 Patent”), entitled “Electrical Connector Assembly.”
27          10.    The ’678 Patent is owned by Interface.
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                                                         COMPLAINT FOR PATENT INFRINGEMENT
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 1                      FIRST CLAIM FOR RELIEF
 2           AGAINST DEFENDANTS FOR DIRECT, INDUCING, AND
                     CONTRIBUTORY INFRINGEMENT
 3
 4          Plaintiff incorporates herein by reference the allegations set forth in
 5 paragraphs 1-10 of the Complaint as though fully set forth herein.
 6        11. A true and correct copy of the ’678 Patent is attached as Exhibit A and
 7 incorporated herein by reference.
 8        12. Defendants have been and now is infringing at least claim 1 of the
 9 ’678 Patent in this district, and elsewhere in the United Stated by, among other
10 things; making, using, importing, offering for sale, and/or selling products that
11 infringe the ’678 Patent.
12         13. Defendants make, use and sell, within the United States, a plurality of
13 electrical connector assemblies which are integrated into a diverse class of electronic
14 products that infringe the ’678 Patent (collectively referred to hereinafter as
15 “Accused Systems”), and which are designed to the specifications of HDMI Type A.
16        14. The electrical connector assembly of claim 1 offers significant
17 improvements in plug and receptacle design, which greatly improve ease of
18 connectivity and the potential for data transfer once the connection is made. The
19 physical design, envisioned with great specificity by the ’678 Patent, offered such
20 improvements over the prior art that the HDMI standards utilized this design to
21 create the Type A plug and receptacle found on the vast majority of electronic
22 devices today.
23          15.   Defendants make and sell products that utilize the electrical connector
24 assembly of the ’678 Patent. These Accused Systems include, for example and
25 without limitation, Defendant Voxx’s Vehicle A/V products, such as the 12.1”
26 Digital Hi-Def Overhead Monitor System with DVD and HD Inputs ADVEXL12A;
27 Defendant VEC’s Vehicle A/V products, such as the Audiovox VODEXL10A 10.1-
28 inch Hi-Def digital overhead system; Defendant Invision’s Vehicle A/V products,

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                                                         COMPLAINT FOR PATENT INFRINGEMENT
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 1 such as the INVISION ConnectedHD 8” Headrest System HR8D; and Defendant
 2 Klipsch’s Soundbars, such as the Klipsch Reference RSB-14 Sound Bar.
 3          16.   Defendants’ Accused Systems are designed with the first element of
 4 claim 1. Specifically, Defendants’ Accused Systems require both plugs and
 5 receptacles to form the electrical connector assembly and transfer data, including
 6 audio and video, over the HDMI connection. This plug must include plug housing
 7 with the mating portion within, the mating portion defined by a multi-sided
 8 confining wall. An example of this plug can be found at Defendants’ website
 9 http://www.acoustic-research.com/platinum-series-hdmi/, as shown below:
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19          17.   Defendants’ Accused Systems are further designed with the second
20 element of claim 2. Specifically, Defendants’ Accused Systems require both plugs
21 and receptacles to form the electrical connector assembly and transfer data,
22 including audio and video, over the HDMI connection. This receptacle must include
23 a mating portion with terminals mounted inside within, the mating portion defined
24 by a multi-sided confining wall. An example of this receptacle can be found at
25 Defendant Voxx’s website and materials http://www.adventproducts.com/mobile-
26 video/overheads/?sku=ADVEXL12A and
27 http://www.adventproducts.com/docs/common/ADVEXL12A/ADVEXL12A_OM.p
28 df, as shown below:

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                                                       COMPLAINT FOR PATENT INFRINGEMENT
Case 2:17-cv-03194-BRO-E Document 1 Filed 04/27/17 Page 6 of 28 Page ID #:6



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20 Another example of this receptacle can be found at Defendant VEC’s website and
21 materials http://www.voxxelectronics.com/mobile-video/?sku=VODEXL10A and
22 http://www.voxxelectronics.com/docs/common/VODEXL10A/VODEXL10A_OM.
23 pdf., as shown below:
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                                                    COMPLAINT FOR PATENT INFRINGEMENT
Case 2:17-cv-03194-BRO-E Document 1 Filed 04/27/17 Page 7 of 28 Page ID #:7



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25   An example of this receptacle can also be found at Defendant Invision’s website
26   and materials http://www.invisiondirect.com/HD-8/ and
27   http://www.invisiondirect.com/docs/common/INV8HH01/INV8HH01_OM.pdf.,
28   as shown below:

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                                                     COMPLAINT FOR PATENT INFRINGEMENT
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                                                 COMPLAINT FOR PATENT INFRINGEMENT
Case 2:17-cv-03194-BRO-E Document 1 Filed 04/27/17 Page 9 of 28 Page ID #:9



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     Another example of this receptacle can also be found at Defendant Klipsch’s website
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     and materials http://assets.klipsch.com/product-specsheets/RSB-14-Spec-Sheet.pdf
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     and http://blog.son-video.com/en/?s=t%C3%A9l%C3%A9commande, as shown
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     below:
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                                                       COMPLAINT FOR PATENT INFRINGEMENT
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 1          18.    Defendants’ Accused Systems are further designed with the third
 2 element of claim 1. HDMI Type A plugs and receptacles, like those used by
 3 Defendants in their Accused Systems, are designed with a plurality of confining
 4 walls that are specifically designed and oriented. In order for a plug and receptacle
 5 to be used together, their confining walls must utilize the same shape, with the plug
 6 being sized smaller in order to fit within the receptacle.
 7          19.    In HDMI Type A connectors, like those designed into Defendants’
 8 Accused Systems, the first and second sides are found opposite of each other and the
 9 first side is longer than the second side. A pair of third sides are then connected to
10 the opposite ends of the first side, each of the pair being shorter than either the first
11 or second side. A pair of fourth sides are then connected to the opposite ends of the
12 second side, but the width between the two fourth sides must be less than that
13 between the two third sides. Finally, a pair of fifth sides are then connected between
14 to connect the third and fourth side of their respective sides, the fifth sides must be
15 angled away from each other while extending from the fourth sides to the third sides
16 that they connect to. This is illustrated by the following diagram, which has been
17 color coded to follow the claim language and has had each of the sides of the
18 receptacle labeled in accordance with the claim language.
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                                                          COMPLAINT FOR PATENT INFRINGEMENT
Case 2:17-cv-03194-BRO-E Document 1 Filed 04/27/17 Page 11 of 28 Page ID #:11



 1          20.    Defendants’ Accused Systems are further designed with the fourth
 2 element of claim 1. As shown in the figure above, in HDMI Type A connectors, like
 3 those designed into Defendants’ Accused Systems, the first and second sides run
 4 substantially parallel to each other. Further, the third sides are substantially
 5 perpendicular to the first side.
 6          21.    Defendants’ Accused Systems are further designed with the final
 7 element of claim 1. As shown in the figure above, in HDMI Type A connectors, like
 8 those designed into Defendants’ Accused Systems, the fourth sides extend obliquely
 9 from each end of the second side.
10          22.    The ’678 Patent has been cited by over 50 issued patents and
11 published patent applications as relevant prior art.
12          23.    By making, using, selling, and offering for sale such devices, and all
13 like products that are covered by one or more claims of the ’678 Patent, including at
14 least claim 1, Defendants have infringed and continue to infringe the ’678 Patent,
15 including infringement under 35 U.S.C. § 271.
16          24.    On information and belief, Defendants have also indirectly infringed
17 and continue to indirectly infringe the ’678 Patent by actively inducing direct
18 infringement by other persons, such as their customers and end users, who operate
19 systems that embody or otherwise practice one or more of the claims of the ’678
20 Patent, when Defendants had knowledge (or willful blindness thereto) of the ’678
21 Patent and that the activities they were inducing would result in direct infringement
22 by others and intended that their actions would induce direct infringement by others.
23 Defendants intended and were aware that the normal and customary use of the
24 Accused Systems would infringe the ’678 Patent.
25          25.    Defendants intended to induce other persons, such as their customers
26 and end users, to directly infringe the ’678 Patent by (1) advising or directing them
27 to make, use, sell, or import the Accused Systems, (2) advertising and promoting the
28 use of the Accused Systems, and (3) distributing instructions for using the Accused

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                                                          COMPLAINT FOR PATENT INFRINGEMENT
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 1 Systems, all in an infringing manner. On information and belief, Defendants
 2 engaged in such inducement to promote the sales of the Accused Systems, e.g.,
 3 through user manuals, product support, and marketing materials to actively induce
 4 the users of the accused products to infringe the ’678 Patent.
 5          26.    On information and belief, Defendants have and continue to
 6 contribute to infringement other persons, such as their customers and end users, to
 7 directly infringe at least claim 1 of the ’678 Patent. Defendants contribute to
 8 infringement by offering to sell, selling within the United States, or importing into
 9 the United States materials and apparatus for use with in practicing at least claim 1
10 of the ’678 Patent. Specifically, on information and belief, Defendants know that
11 their products with a HDMI receptacle, for example, and materials and apparatus
12 designed for use with this receptacle, constitute a material and component part of the
13 invention of the ’678 Patent, and is infringing, and that it is not a staple article or
14 commodity of commerce suitable for substantial non-infringing use, and it has no
15 use apart from infringing the ’678 Patent.
16          27.    On information and belief, Defendants have had knowledge of the
17 ’678 Patent since at least the filing of this Complaint.
18          28.    On information and belief, Defendants will continue to infringe the
19 ’678 Patent unless enjoined by this Court.
20          29.    As a direct and proximate result of Defendants’ infringement of the
21 ’678 Patent, Interface has been and continues to be, damaged in an amount yet to be
22 determined, but in no event less than a reasonable royalty for the use made of the
23 invention by Defendants, together with interest and costs as fixed by the Court.
24          30.    Unless a preliminary and permanent injunction are issued enjoining
25 Defendants and their officers, agents, servants and employees, and all others acting
26 on their behalf or in concert with Defendants, from infringing the ’678 Patent,
27 Interface, will be greatly and irreparably harmed.
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                                                          COMPLAINT FOR PATENT INFRINGEMENT
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 1                                 PRAYER FOR RELIEF
 2          WHEREFORE, Interface prays for judgment against Defendants as follows:
 3          (1)           For a judicial decree that Defendants have infringed, and
 4 continue to infringe, the ’678 Patent;
 5          (2)           For a judicial decree that Defendants, their respective
 6 subsidiaries, officers, agents, servants, employees, licensees, and all other persons or
 7 entities acting or attempting to act in active concert or participation with it or acting
 8 on their behalf, be preliminarily and permanently enjoined from further infringement
 9 of the ’678 Patent;
10          (3)           For a judicial decree that orders Defendants to account for and
11 pay to Interface all damages caused to Interface by reason of Defendants’
12 infringement pursuant to 35 U.S.C. Section 284, including enhanced damages;
13          (4)           For a judicial decree finding that this is an exceptional case
14 within the meaning of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable
15 attorneys’ fees;
16          (5)           For a judicial decree that Defendants pay an ongoing royalty in
17 an amount to be determined for continued infringement after the date of judgment;
18          (6)           For a judicial decree awarding to Interface pre-judgment and
19 post-judgment interest on the damages caused to it by Defendants’ infringement; and
20          (7)           For any such other and further relief as the Court may deem just
21 and proper under the circumstances.
22
23 Dated: April 27, 2017                    ONE LLP
24
                                            By:/s/John E. Lord
25
                                                John E. Lord
26                                              Attorneys for Plaintiff,
                                                Interface Linx, LLC
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                                                          COMPLAINT FOR PATENT INFRINGEMENT
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 1                           DEMAND FOR JURY TRIAL
 2        Plaintiff Interface hereby demands trial by jury in this action.
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     Dated: April 27, 2017               ONE LLP
 4
 5                                       By:/s/John E. Lord
 6                                           John E. Lord
                                             Attorneys for Plaintiff,
 7                                           Interface Linx, LLC
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                                                        COMPLAINT FOR PATENT INFRINGEMENT
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                         EXHIBIT A
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                                                                                                                         US006508678B1

   (12)   United States Patent                                                                        (10) Patent N0.:     US 6,508,678 B1
          Yang                                                                                        (45) Date of Patent:      Jan. 21, 2003


   (54)    ELECTRICAL CONNECTOR ASSEMBLY                                                                6,261,129 B1 *           7/2001 Kusagaya ................. .. 439/677
                                                                                                        6,280,209   B1   *       8/2001       Bassler et al.    ......   . . . ..   439/101


           Inventor:       Sheng_H0 Yang,                               Hsien                           6,386,918 B1 *           5/2002       Zheng et
                                                                                                                                                    et al.
                                                                                                                                                       a1.     ..............
                                                                                                                                                                 ......   . . . .. 439/607



           ASSlgIlGCZ Advanced
                      Hsien    Connecteck IIlC-,                                                 GB                  1029090              *     5/1966       ............... .. 439/677

   (*)     Notice:         Subject to any disclaimer, the term of this                           *     -t d b       -
                           patent is extended or adjusted under 35                                   C1 6     y exammer
                           U_S,C, 154(b) by 64 days,                                             Primary Examiner—Tulsidas Patel
                                                                                                 Assistant Examiner—Thanh-Tam Le
   (21) APPL NO: 09/653,129                                                                      (74) Attorney, Agent, or Firm—Merchant & Gould RC.
   (22) Filed:            Aug. 31, 2000                                                          (57)                             ABSTRACT
   (51)    Int CL?                                                         HOIR 13/64            An electrical connector assembly includes a plug having a
   (52)    U S C] iiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiii                    439/607            ?rst mating portion de?ned by a multi-sided ?rst con?ning
             I. .    . ...................................... ..                ,                Wall, and a receptacle having a Second mating portion
   (58) Fleld of Se1gc920i391/gg7’9gi01’                                                         de?ned by a multi-sided second con?ning Wall. Each of the
                                         ’       ’        ’         ’      ’        ’       '    ?rst and second con?ning Walls has opposite ?rst and second
                                                      .                                          sides, a pair of opposite third sides respectively connected to
   (56)                    References Clted                                                      tWo opposite ends of the ?rst side, a pair of fourth sides
                     U.S. PATENT DOCUMENTS                                                       respectively connected to tWo opposite ends of the second
                         *                                                                       sides, and a pair of ?fth sides each extending betWeen and
                      2 *          222113;? a1‘ """""""" "                                       interconnecting one of the third sides and one of the fourth
          5’051’099 A *          9/1991 Pickles                    """""""" " 439/108            sides. The ?rst side is longer than the second side. The Width
          5,634,819 A * 6/1997 Pan et aL                                            439/637      betWeen the third sides is greater than that betWeen the
          5:647:765 A *          7/1997 Haas et a1_ ________ __                     439 /609     fourth sides. The ?fth sides are angled aWay from each other
          5,651,685 A *          7/1997 Brinkman et a1,                                 439/79   While extending from the fourth sides to the third sides.
          6,041,498 A       *    3/2000 Hillbish et al. ............. .. 29/883
          6,171,125 B1 *         1/2001 Kirkendall ................ .. 439/218                                      5 Claims, 9 Drawing Sheets



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                             FIG.1
                               PRIORART
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                               FIG.2
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   U.S. Patent         Jan. 21, 2003   Sheet 4 0f 9        US 6,508,678 B1




                              FIG.4




                                       FIG.5
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   U.S. Patent            Jan. 21, 2003              Sheet 7 0f 9                   US 6,508,678 B1




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                                 334   333 335
                                  (         l     ) 3/31




                         FIG. 12
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                                 FIG. 13
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                                                        US 6,508,678 B1
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          ELECTRICAL CONNECTOR ASSEMBLY                                     FIG. 2 is an exploded perspective vieW of an electrical
                                                                          connector assembly embodying this invention;
                                                                             FIG. 3 is an exploded perspective vieW of a plug of the
            BACKGROUND OF THE INVENTION
                                                                          electrical connector assembly of FIG. 2;
     1. Field of the Invention                                               FIG. 4 is a fragmentary perspective vieW of the plug of
     This invention relates to an electrical connector assembly,          FIG. 3;
   more particularly to a USB type electrical connector assem                FIG. 5 is a partly exploded perspective vieW of the plug
   bly.                                                                   of FIG. 3;
      2. Description of the Related Art                                      FIG. 6 is an exploded perspective vieW of a receptacle of
                                                                     10
      FIG. 1 illustrates a conventional USB (Universal Serial             the electrical connector assembly of FIG. 2;
   Bus Connector) electrical connector assembly that serves as              FIG. 7 is a cross-sectional side vieW of a mating portion
   a medium for data transmission in a computer. The assembly             of the receptacle of FIG. 6;
   includes a receptacle 1 With a complementary plug 2. The
                                                                            FIG. 8 is a cross-sectional side vieW to illustrate mating
   receptacle 1 includes a receptacle housing 12 having a            15
   receptacle mating portion 122 formed With a substantially              of the receptacle of FIG. 6 and the plug of FIG. 3;
   rectangular opening 121 for receiving the plug 2, a recep                FIG. 9 is a front vieW of the receptacle of FIG. 6;
   tacle terminal seat 11 disposed in the receptacle housing 12,            FIG. 10 is a front vieW of the plug of FIG. 3;
   and a plurality of receptacle terminals 111 mounted on the               FIG. 11 is a front vieW to illustrate a modi?ed receptacle
   receptacle terminal seat 11 and having ends adapted to                 of FIG. 6;
   be-connected to a printed circuit board 13. The plug 2                   FIG. 12 is a front vieW to illustrate a modi?ed plug of FIG.
   includes a plug housing and a plurality of plug terminals (not         3; and
   shoWn) mounted in the plug housing. The plug housing has                 FIG. 13 is a perspective vieW to illustrate another modi
   a plug mating portion 21 adapted to mate With the receptacle
   mating portion 122 and having a cable connecting end 22                ?ed receptacle of FIG. 6.
                                                                     25
   adapted to be connected to a cable 23.                                              DETAILED DESCRIPTION OF THE
     The cable 23 normally has tWo opposite ends provided                                PREFERRED EMBODIMENTS
   With the same plugs 2 that respectively serve as data input
   and output connectors. As such, there is a tendency to plug              FIG. 2 illustrates an electrical connector assembly
   a Wrong one of the plugs 2 into the receptacle 1 of a printed          embodying this invention. The electrical connector assem
   circuit board When using the cable 23 to connect an electrical         bly includes a receptacle 4 With a complementary plug 3.
   device to the printed circuit board, thereby hindering data              Referring noW to FIGS. 3 to 5, in combination With FIG.
   transmission betWeen the electrical device and the printed             3, the plug 3 includes a plug housing 30 adapted to be
   circuit board.                                                         connected to a cable 5 at a rear end 32 thereof and having
                                                                     35 an insulative outer shell 38 and a metal inner shell 37
                SUMMARY OF THE INVENTION
                                                                          extending into the outer shell 38, and a plurality of plug
     Therefore, the object of the present invention is to provide         terminals 33 mounted in the plug housing 30. The inner shell
   an electrical connector assembly that is capable of overcom            37 includes a substantially rectangular supporting portion
   ing the aforementioned draWback.                                       371 disposed in the outer shell 38, and a holloW ?rst mating
     According to the present invention, an electrical connec             portion 36 de?ned by a multi-sided ?rst con?ning Wall 36‘
   tor assembly comprises a plug that includes a plug housing             and projecting from the supporting portion 371 and out of a
   having a ?rst mating portion, and a plurality of plug termi            front end of the outer shell 38. The supporting portion 371
   nals mounted inside the plug housing, the ?rst mating                  includes a U-shaped base piece. 360 having a ?at bight
   portion being de?ned by a multi-sided ?rst con?ning Wall;              portion 363 and tWo opposite arms 364 Which project from
   and a receptacle that includes a receptacle housing having a      45   tWo opposite sides of the bight portion 363 in directions
   second mating portion to mate With the ?rst mating portion,            substantially perpendicular to the bight portion 363 and
   and a plurality of receptacle terminals mounted inside the             Which are formed With through-holes 365, and an inverted
   receptacle housing, the second mating portion being de?ned             U-shaped cover piece 35 coupled With the base piece 360
   by a multi-sided second con?ning Wall, each of the ?rst and            and having a ?at bight portion 353 parallel to the bight
   second con?ning Walls having opposite ?rst and second                  portion 363 of the base piece 360 and tWo opposite arms 351
   sides, a pair of opposite third sides respectively connected to        Which project from tWo opposite sides of the bight portion
   tWo opposite ends of the ?rst side, a pair of fourth sides             353 toWard the arms 364 of the base piece 360 and Which are
   respectively connected to tWo opposite ends of the second              formed With tongues 352 that respectively and detachably
   sides, and a pair of ?fth sides each extending betWeen and             engage the through-holes 365 When the base piece 360 and
   interconnecting one of the third sides and one of the fourth      55   the cover piece 35 are coupled together. An arc-shaped plate
   sides, the ?rst side being longer than the second side, the            366 projects from a rear end of the bight portion 363 to
   Width betWeen the third sides being greater than that                  support the cable 5. A positioning tape 354 is secured to a
   betWeen the fourth sides, the ?fth sides being angled aWay             rear end of the cover piece 35 adjacent to the arc-shaped
   from each other While extending from the fourth sides to the           plate 366 for Winding on the cable 5 and the arc-shaped plate
   third sides.                                                           366 so as to ?rmly ?x the cable 5 on the arc-shaped plate
                                                                          366. A pair of opposite positioning tongues 362 project
          BRIEF DESCRIPTION OF THE DRAWINGS                               inWardly from the ?rst con?ning Wall 36‘. Alocking opening
     In draWings Which illustrate embodiments of the                      369 is formed in the ?rst con?ning Wall 36‘.
   invention,                                                               The plug terminals 33 are mounted on a plug terminal seat
      FIG. 1 is an exploded perspective vieW of a conventional       65   34 Which includes a base part 341 formed With a plurality of
   electrical connector assembly adapted to be connected to a             terminal passageWays 344 for receiving the plug terminals
   printed circuit board;                                                 33 and having a contact portion 345 Which projects into the
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                                 3                                                                       4
   ?rst mating portion 36, and a positioning block 342 project            36‘, 453‘ has opposite ?rst and second sides 371, 372‘ (481,
   ing from the base part 341, crossing the terminal passage              482), a pair of opposite third sides 373 (483) respectively
   Ways 344, and having a plurality of grooves aligned With the           connected to tWo opposite ends of the ?rst side 371 (481),
   passageWays 344 to con?ne the plug terminals 33. Apair of              a pair of fourth sides 374 (484) respectively connected to
   positioning recesses 343 are formed in tWo opposite sides of           tWo opposite ends of the second sides 372 (482), and a pair
   the positioning block 342 to engage the positioning tongues            of ?fth sides 375 (485) each extending betWeen and inter
   362 When the plug terminal seat 34 is disposed in the inner            connecting one of the third sides 373 (483) and one of the
   shell 37. An elastic sleeve 39 is sleeved on a connecting end          fourth sides 374 (484). The ?rst side 371 (481) is longer than
   51 of the cable 5, and is connected to the plug housing 30             the second side 372 (482). The Width betWeen the third sides
   for protecting the cable 5 from being bent.                       10
                                                                          373 (483) is greater than that betWeen the fourth sides 374
     Referring noW to FIGS. 6 and 7, in combination With                  (484). The ?fth sides 375 (485) are angled aWay from each
   FIGS. 2 to 5, the receptacle 4 includes a metal receptacle             other While extending from the fourth sides 374 (484) to the
   housing 45 adapted to be mounted on a printed circuit board            third sides 373 (483) The ?rst and second sides 371, 372
   (not shoWn) and having a substantially U-shaped supporting             (481, 482) are substantially parallel. The third sides 373
   portion 451‘ and a second mating portion 453 de?ned by a               (483) are substantially perpendicular to the ?rst side 371
                                                                     15
   multi-sided second con?ning Wall 453‘ and projecting from              (481). The fourth sides 374 (484) extend obliquely and
   a front end of the supporting portion 451‘, a receptacle               respectively from the opposite ends of the second side 372
   terminal seat 41‘ mounted on the supporting portion 451‘,              (482). The ?fth sides 375, (485) are respectively and sub
   and a plurality of receptacle terminals 43 mounted on the              stantially perpendicular to the third sides 373 (483). The
   receptacle terminal seat 41‘. The supporting portion 451‘ of
                                                                          shortest distance (indicated as reference mark H1 shoWn in
   the receptacle housing 45 has a bight part 452 and tWo
   opposite arms 451 projecting from tWo opposite sides of the            FIG. 9 or H1‘ in FIG. 10) from one of, tWo opposite ends of
   bight part 452 in directions substantially perpendicular to the        each third side 373 (483), that is distal from the ?rst side 371
   bight part 452. A cover plate 456 projects from a rear end             (481), to a plane de?ned by the second side 372 (482) is
   454 of the supporting portion 451‘, and has tWo opposite legs          smaller than the distance (indicated as reference mark W1
   formed With locking recesses 459. Apair of lugs 450 project       25
                                                                          shoWn in FIG. 9 or W1‘ in FIG. 10) from one of the opposite
   from one end of each arm 451 of the supporting portion 451‘            ends of the second side 372 (482), that is adjacent to that
   of the receptacle housing 45 for engaging the printed circuit          third side 373 (483), to a plane de?ned by that third side 373
   board. Apair of elongated slots 455 are formed in the arms             (483). The locking opening 369 is formed at the ?rst side
   451, and open at the rear end 454 of the supporting portion            371 of the ?rst con?ning Wall 36‘.
   451‘. Apair of tongues 460 project outWardly from the arms                Referring noW to FIG. 8, in combination With FIGS. 3 and
   451 betWeen the elongated slot 455 and the lugs 450. The               7, the locking opening 369 engages the bent section 457‘ of
   bight part 452 of the supporting portion 451‘ is punched or            the main spring arm 457 of the bight part 452, and each plug
   is stamped to form a main spring arm 457 and a pair of                 terminal 33 abuts against the bent portion 437 of the
   secondary spring arms 458 thereon. The main spring arm                 respective receptacle terminal 43 When the plug 3 is plugged
   457 has a front end formed With a bent section 457‘.              35   into the receptacle 4.
      The receptacle terminal seat 41‘ includes a rectangular                FIGS. 11 and 12 respectively illustrate a modi?ed recep
   positioning body 41 and a base part 42‘ projecting from a              tacle 4‘ and a modi?ed plug 3‘ Which are similar to the
   front face 443 of the positioning body 41 and having a                 previous receptacle 4 and the previous plug 3 except that the
   contact portion 42 extending into the second mating portion            fourth sides 374‘ (484‘) are substantially perpendicular to the
   453 to mate With the contact portion 345 of the base part 341          second side 372‘ (482‘), that each ?fth side 375‘ (485‘) is
   of the plug terminal seat 34. A plurality of receptacle                oblique relative to the respective third side 373‘ (483‘) and
   terminal passageWays 446 are formed in the base part 42‘ for           the respective fourth side 374‘ (484‘), and that the shortest
   receiving the receptacle terminals 43. The base part 42‘ has           distance (indicated as reference mark H2 shoWn in FIG. 11
   a side Wall 445 de?ning one side of each receptacle terminal           or H2‘ in FIG. 12) from one of tWo opposite ends of each
   passageWay 446 and formed With a plurality of openings 447        45   third side 373‘ (483‘), that is distal from the ?rst side 371‘
   that are respectively aligned With and spatially communi               (481‘) to the plane de?ned by the second side 372‘ (482‘) is
   cated With the receptacle terminal passageWays 446. A pair             greater than the distance (indicated as reference mark W2
   of protrusions 448 respectively project from tWo opposite              shoWn in FIG. 11 or W2‘ in FIG. 12) from an adjacent one
   sides of the positioning body 41 to engage the elongated               of the opposite ends of the second side 372‘ (482‘) to the
   slots 455 in the arms 451 of the supporting portion 451‘               plane de?ned by that third side 373‘ (483‘).
   When the assembly of the receptacle terminal seat 41 and the              FIG. 13 illustrates another modi?ed receptacle 4“ Which
   receptacle terminals 43 is disposed in the receptacle housing          is a combination of the previous receptacle 4 and the
   45. Each receptacle terminal 43 has a spring arm 436                   previous modi?ed receptacle 4‘ that are stacked one above
   disposed in one of the receptacle terminal passageWays 446             the other.
   and having a front end formed With a bent portion 437 that        55      Referring noW to FIGS. 3 and 6, the plug terminals 33
   protrudes through the respective opening 447 in the side               include spaced apart tWo ?rst poWer terminals 331, a ?rst
   Wall 445 of the base part 42‘, and an L-shaped solder tail 439         detecting terminal 335 disposed adjacent and integrally
   extending from the spring arm 436 through the positioning              formed With one of the poWer terminals 331, and tWo spaced
   body 41 and adapted to be soldered to the printed circuit              apart data terminals 333, 334. The receptacle terminals 43
   board (not shoWn). The legs of the cover plate. 456 are bent           are spaced apart from each other, and include tWo second
   at an angle of 900 to permit the locking recesses 459 to               poWer terminals 431, a second detecting terminal 435 dis
   engage the tongues 460 at the arms 451 of the supporting               posed adjacent to one of the poWer terminals 431, and tWo
   portion 451‘ after the assembly of the receptacle terminal             data terminals 433, 434. The second detecting terminal 435
   seat 41 and the receptacle terminals 43 is disposed in the             is electrically connected to the adjacent one of the second
   receptacle housing 45.                                            65   poWer terminals 431 via the interconnected one of the ?rst
     Referring noW to FIGS. 9 and 10, in combination With                 poWer terminals 331 and the ?rst detecting terminal 335
   FIGS. 3 and 6, each of the ?rst and second con?ning Walls              When the plug 3 and the receptacle 4 are coupled together,
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                                                      US 6,508,678 B1
                                5                                                                     6
   thereby permitting the printed circuit board to distinguish             Wherein said ?rst and second sides are substantially
   the type of plug that is connected thereto.                                parallel, and said third sides are substantially perpen
      With the invention thus explained, it is apparent that                  dicular to said ?rst side; and
   various rnodi?cations and variations can be made Without                Wherein said fourth sides extend obliquely from said
   departing from the spirit of the present invention. It is                  second side.
   therefore intended that the invention be limited only as                2. The electrical connector assembly of claim 1, Wherein
   recited in the appended claims.                                      said ?fth sides are respectively and substantially perpen
     I claim:
                                                                        dicular to said third sides.
     1. An electrical connector assembly, comprising:
                                                                   10      3. The electrical connector assembly of claim 2, Wherein
     a plug that includes a plug housing having a ?rst rnating          each of said third sides has tWo opposite ends, the shortest
        portion, and a plurality of plug terrninals mounted             distance from one of said opposite ends of said third side,
       inside said plug housing, said ?rst rnating portion being        that is distal from said ?rst side, to a plane de?ned by said
        de?ned by a rnulti-sided ?rst con?ning Wall; and
                                                                        second side being smaller than that from one of said opposite
     a receptacle that includes a receptacle housing having a      15   ends of said second side, that is adjacent to said one of said
        second rnating portion to mate With said ?rst rnating           opposite ends of said third side, to a plane de?ned by said
       portion, and a plurality of receptacle terrninals mounted
                                                                        third side.
       inside said receptacle housing, said second rnating
       portion being de?ned by a rnulti-sided second con?n                 4. The electrical connector assembly of claim 1, Wherein
                                                                        said plug terrninals include a ?rst poWer terminal and a ?rst
       ing Wall,                                                        detecting terminal which is electrically connected to said
     each of said ?rst and second con?ning Walls having
                                                                        ?rst poWer terminal, and said receptacle terrninals include a
       opposite ?rst and second sides, a pair of opposite third
                                                                        second poWer terminal and a second detecting terminal
       sides respectively connected to tWo opposite ends of
       said ?rst side, a pair of fourth sides respectively con          which is spaced apart from said second poWer terminal and
       nected to tWo opposite ends of said second side, and a           Which is electrically connected to said second poWer termi
                                                                   25
       pair of ?fth sides each extending betWeen and inter              nal via said ?rst poWer terminal and said ?rst detecting
       connecting one of said third sides and one of said fourth        terrninal When said ?rst and second rnating portions are
       sides, said ?rst side being longer than said second side,        coupled together.
       said ?rst and second sides being longer than each of                5. The electrical connector assembly of claim 4, Wherein
       said third sides, the Width betWeen said third sides             said ?rst poWer terminal and said ?rst detecting terrninal are
       being greater than that betWeen said fourth sides, said          integrally formed and are punched from a metal plate.
       ?fth sides being angled away from each other While
       extending from said fourth sides to said third sides;
